______________________________________________________________________________
                     UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

IN RE                                                :
                                                     :
        DENNIS O. JOHNS                              : CASE NO. 5-21-01655
                                                     :
                              Debtor(s)              : Motion to Sell Real Estate

                                            ORDER

        AND NOW, this                                       , upon consideration of the annexed

motion, it is hereby ORDERED that the debtor(s) shall be permitted to sell his real estate

pursuant to the terms of that certain Agreement of Sale attached to said motion.

        Further, U.S. Bank National Association, as indenture trustee, for the holders of the CIM

Trust 2021-NR3, Mortgage-Backed Notes, Series 2021-NR3’s lien shall be paid in full subject to

a proper and accurate payoff at the time of sale. The lien will otherwise remain on the property

unless paid in full.


                                                     BY THE COURT:




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